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            EXHIBIT A
2/24/25, 10:25 AM     Case 3:25-cv-10447-MGM                        Document
                                                                      Case Details1-3     Filed 02/24/25
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  2579CV00062 Carter, Nicole vs. Shein US Services LLC

    Case Type:
    Torts
    Case Status:
    Open
    File Date
    01/24/2025
    DCM Track:
    F - Fast Track
    Initiating Action:
    Other Tortious Action
    Status Date:
    01/24/2025
    Case Judge:

    Next Event:
    05/21/2026



    All Information    Party   Event   Tickler   Docket      Disposition


      Party Information
      Carter, Nicole
      - Plaintiff
       Alias                                                       Party Attorney
                                                                   Attorney
                                                                   Pro Se
                                                                   Bar Code
                                                                   PROPER
                                                                   Address
                                                                   Phone Number

                                                                                                                       More Party Information

      Shein US Services LLC
      - Defendant
       Alias                                                       Party Attorney
                                                                                                                       More Party Information




      Events
      Date                             Session                         Location      Type                         Event Judge      Result
      05/21/2026 02:00 PM              Civil A - Ct. Rm. 4                           Final Pre-Trial Conference




      Ticklers
      Tickler                                             Start Date              Due Date             Days Due   Completed Date
      Service                                             01/24/2025              04/24/2025           90
      Answer                                              01/24/2025              05/27/2025           123
      Rule 12/19/20 Served By                             01/24/2025              05/27/2025           123
      Rule 12/19/20 Filed By                              01/24/2025              06/23/2025           150
      Rule 12/19/20 Heard By                              01/24/2025              07/23/2025           180
      Rule 15 Served By                                   01/24/2025              05/27/2025           123
      Rule 15 Filed By                                    01/24/2025              06/23/2025           150
      Rule 15 Heard By                                    01/24/2025              07/23/2025           180
      Discovery                                           01/24/2025              11/20/2025           300
      Rule 56 Served By                                   01/24/2025              12/22/2025           332

https://www.masscourts.org/eservices/searchresults.page?x=dUwUt3aBEL5Z2gOTfghMw2xJvuDMBC3crkv74-3MV*I-t8jx63zC6iHffoARbI6L1YxMa6*…              1/2
2/24/25, 10:25 AM   Case 3:25-cv-10447-MGM                        Document
                                                                    Case Details1-3     Filed 02/24/25
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      Tickler                                          Start Date             Due Date               Days Due             Completed Date
      Rule 56 Filed By                                 01/24/2025             01/20/2026             361
      Final Pre-Trial Conference                       01/24/2025             05/21/2026             482
      Judgment                                         01/24/2025             01/25/2027             731


      Docket Information
      Docket        Docket Text                                                                                             File Ref   Image Avail.
      Date                                                                                                                  Nbr.
      01/24/2025    Attorney appearance
                    On this date Pro Se added for Plaintiff Nicole Carter
      01/24/2025    Case assigned to:
                    DCM Track F - Fast Track was added on 01/24/2025
      01/24/2025    Affidavit of Indigency and request for waiver substitution of state payment of fees and costs filed     1
                    without Supplemental affidavit
      01/27/2025    Determination regarding normal fees and costs ALLOWED FORTHWITH by Clerk , pursuant to G. L.            2
                    c. 261, § 27C(2).                                                                                                  
                                                                                                                                        Image

      01/27/2025    Original civil complaint filed.                                                                         3
                                                                                                                                           
                                                                                                                                           
                                                                                                                                          Image
      01/27/2025    Civil action cover sheet filed.                                                                         4
                                                                                                                                           
                                                                                                                                           
                                                                                                                                           Image
      01/27/2025    Demand for jury trial entered.
      01/27/2025    Claim filed under 93A
      01/27/2025    Notice of 93A complaint sent to Attorney General




      Case Disposition
      Disposition                                       Date                                            Case Judge
      Active                                            01/27/2025




https://www.masscourts.org/eservices/searchresults.page?x=dUwUt3aBEL5Z2gOTfghMw2xJvuDMBC3crkv74-3MV*I-t8jx63zC6iHffoARbI6L1YxMa6*…                    2/2
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                                                                         *S146821*


  Entity Name: SHEIN US SERVICES, LLC
    Jurisdiction: CA
            Date: 2/5/2025
 Receipt Method: Certified Mail
  Case Number: 2579CV00062
         Plaintiff: CARTER, NICOLE
      Defendant: SHEIN US SERVICES LLC
 Document Type: Summons
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